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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF OREGON, PORTLAND DIVISION

 COLUMBIA SPORTSWEAR NORTH                                              Case No.: 3:19-cv-00137-SI
 AMERICA, INC., an Oregon corporation,
                                              MOTION TO DISMISS FOR LACK OF
                                   Plaintiff, PERSONAL JURISDICTION, FOR
         v.                                   LACK OF VENUE, AND FOR
                                              FAILURE TO STATE A CLAIM UPON
 SEIRUS INNOVATIVE ACCESSORIES,               WHICH RELIEF CAN BE GRANTED
 INC., a Utah corporation, VENTEX CO.,
 LTD., a foreign company, MICHAEL J.
 CAREY, an individual, WENDY M. CAREY, Hon. Michael H. Simon
 an individual, ROBERT (BOB) MURPHY, an
 individual, KYUNG-CHAN GO, an individual, ORAL ARGUMENT REQUESTED
 MAN-SIK (PAUL) PARK, an individual, and
 JOHN DOE NUMBERS 1-5, individuals,

                                            Defendants.




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                            LOCAL RULE 7 CERTIFICATION

       Counsel for Seirus met and conferred with Columbia regarding the personal

jurisdiction and venue issues addressed in this motion on March 11, 2019. (See Declaration of

Seth Sproul submitted in support of the Seirus Individuals’ motion, ¶ 2.) The parties met and

conferred again by telephone on April 1, 2019 about Seirus’ challenges to the sufficiency of

the pleadings. (See Declaration of Seth Sproul (“Sproul Decl.”) submitted in support of this

motion, ¶ 2.) During the call, the parties discussed the issues but could not reach resolution

and counsel for Columbia confirmed that it would oppose this motion. (See id.)

                                           MOTION

       Defendant Seirus Innovative Accessories, Inc. moves to dismiss under Federal Rules

of Civil Procedure 12(b)(2), 12(b)(3), and 12(b)(6) because this Court lacks personal

jurisdiction over Seirus, because this case was brought in an improper venue, and because

Columbia fails to state any viable claim for relief.

                                      INTRODUCTION

       This Court lacks general and specific jurisdiction over Seirus. Seirus is a Utah

corporation based in San Diego with minimal sales in Oregon. Neither Columbia’s “targeting”

theory nor the RICO statute provide jurisdiction. Venue is also improper, as most of the

relevant events and evidence are outside Oregon. This case must be dismissed or at least

transferred to the Southern District of California.

       This case should also be dismissed because Columbia fails to state any viable claim for

relief. First, Columbia cannot state a viable claim for damages. The only relief Columbia seeks

is recovery of attorneys’ fees spent in defending its patent in an inter partes review (IPR)


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proceeding at the Patent Office brought by Ventex. Precedent prohibits a party from seeking

attorney fees incurred in an earlier lawsuit as damages in a subsequent suit. The proper way

for Columbia to seek fees is to ask for them in the IPR, which Columbia has already done.

Because Columbia cannot recover the relief it seeks, it cannot prove a legally cognizable injury.

In addition, Columbia cannot show that Seirus’ conduct was the proximate cause of any injury,

because the alleged fraud was committed on the Patent Office, not Columbia.

       Second, all of Columbia’s claims are based on Columbia’s central allegation that Seirus

and Ventex fraudulently filed papers with the district courts and with the Patent Office. These

filings, though, are immune under both the Noerr-Pennington doctrine and the litigation

privilege. Without the central allegation based on these filings, Columbia’s claims collapse.

Columbia’s state law claims also must be dismissed because they are preempted by federal law.

       Third, Columbia also fails to plead a cognizable RICO claim. Columbia cannot show

a legally cognizable “pattern” of racketeering activity, because the alleged scheme was singular

and targeted at a single alleged victim—Columbia—and the complaint does not allege that

there is any risk of additional activity. In addition, none of Columbia’s RICO claims based on

harm caused by alleged income from racketeering activity can survive because Columbia has

only claimed one harm from the single scheme, and it cannot show separate harm from alleged

investment of racketeering income. The alleged enterprise generated no income.

       The Court should dismiss this case for these reasons, but Columbia’s allegations also

fail because they are implausible. Columbia alleges that Seirus funded IPRs filed by its supplier

Ventex to damage Columbia. But the IPRs provide no meaningful benefit to Seirus. The

claims challenged by Ventex’s IPRs did not cover one of the two claims (claim 23 of the ’270


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patent) that Columbia asserted against Seirus at trial.      Indeed, the Ventex IPRs never

challenged claim 23—leaving Seirus unprotected from this claim from the inception of the

IPRs, as infringement of one claim carries the same liability as infringement of two or more

claims. Yet Columbia alleges Seirus undertook the considerable expense of funding Ventex’s

IPRs to force Columbia to do nothing more than incur roughly the same legal fees as Seirus.

       In service of this illogical premise, Columbia alleges an elaborate scheme by Seirus

based on nothing more than an assertion by Columbia’s counsel in a declaration attached to

Columbia’s First Amended Complaint (FAC) that the agreement between Seirus and Ventex

“has no commercially reasonable basis.” This is the single most important “fact” alleged in

the FAC, but it is facially wrong. The agreement was and remains the governing contract

between the two companies to this day. The simple fact that Seirus and Ventex have a

commercial relationship does not support a plausible inference that Seirus engaged in an illegal

scheme to defraud Columbia.

                                      BACKGROUND

       The background surrounding this case is laid out in detail in the motion to dismiss filed

by the Seirus Individuals, so we do not repeat it here.

                                        ARGUMENT

 I.    SEIRUS MUST BE DISMISSED BECAUSE JURISDICTION AND VENUE
       ARE LACKING IN OREGON

       Seirus must be dismissed from this case, or (at least) the case must be transferred to

the Southern District of California, because Columbia has brought the case in an improper

venue that does not have jurisdiction over Seirus. As Columbia acknowledges, Seirus is

incorporated in Utah and is based in Southern California. (See FAC, at ¶ 13.) Seirus owns no

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property in Oregon, does not have any employees in Oregon, and does not have any agents

in Oregon. (See Declaration of Michael Carey, ¶¶ 3, 5.) Seirus’ connection to Oregon is limited

to a small amount of online sales, both in number and percentage, to sales to big box retailers

who distribute Seirus’ product to Oregon on their own, and a miniscule amount of direct sales

to independent retailers in Oregon. (See id., ¶¶ 7-11.) Although sales of allegedly infringing

products in Oregon may have been sufficient basis for an Oregon court to maintain

jurisdiction in a patent infringement suit based on those sales, the allegations made by

Columbia in this FAC have nothing to do with those sales. Rather, Columbia alleges a

conspiracy in California, Korea, and Virginia—where Seirus (in California) allegedly conspired

with Ventex (in Korea) to file an IPR with the Patent Office in Virginia to invalidate

Columbia’s patents. The only acts allegedly committed by Seirus in Oregon relate to Seirus’s

participation in litigation brought by Columbia in Oregon—litigation which Columbia later

agreed was brought in the wrong venue and which was transferred to the Southern District of

California.

       Seirus is not subject to general or specific jurisdiction in Oregon. General jurisdiction

exists only where “a corporate defendant is at home,” namely “the corporation’s place of

incorporation and its principal place of business.” BNSF Ry. Co. v. Tyrrell, 137 S. Ct. 1549,

1558 (2017). Neither is true for Seirus in Oregon. As to specific jurisdiction, the only

connection between the actions alleged to have been done by Seirus and Oregon relate to

certain filings and motions made by Seirus in litigation brought by Columbia in Oregon. But

participation in litigation as a defendant in a forum state cannot be a basis for finding personal

jurisdiction in a subsequent case. See Dow Chem. Co. v. Calderon, 422 F.3d 827, 835–36 (9th Cir.


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2005); see also SI Motion, at 12–13. Moreover, defending a suit is not as purposeful availment

or purposefully directing action into a form state—such contact with Oregon is nothing more

than the result of Columbia having improperly brought its case in Oregon before it was

transferred to San Diego. See Bristol-Myers Squibb v. Superior Court, 137 S. Ct. 1773, 1785; Burger

King Corp. v. Rudzewicz, 471 U.S. 462, 475. Moreover, neither Columbia’s “targeting” theory

nor the RICO jurisdictional provision confer jurisdiction either. (See SI Motion, at 16–18.)

       Venue is also improper in Oregon. The overwhelming majority of acts underlying

Columbia’s claims for relief occurred in either California or in Virginia, and the agreement at

the heart of the case was negotiated between Seirus (in California) and Ventex (in Korea) and

was drafted and executed in California. (See SI Motion, at 19–20.) No statute that Columbia

has pointed to allows for this case to be brought in Oregon. See id., at 19–22.) This case must

at least be transferred to the Southern District of California because it is by far the more

convenient and efficient venue for this case to be tried. (See SI Motion, at 22–24.)

II.    COLUMBIA’S COMPLAINT FAILS TO STATE ANY VIABLE CLAIM

       This Court need not address anything beyond jurisdiction, but Seirus should

additionally be dismissed because Columbia fails to adequately state any claim. Under Rule

12(b)(6), a defendant may move to dismiss a complaint for “failure to state a claim upon which

relief can be granted.” Fed. R. Civ. P. 12(b)(6), 8(a)(2). In order to survive such a motion, “a

complaint must contain sufficient factual matter, accepted as true, to state a claim to relief that

is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “This standard does not rise

to the level of a probability requirement, but it demands ‘more than a sheer possibility that a

defendant has acted unlawfully.’” Landers v. Quality Commc’ns, Inc., 771 F.3d 638, 641 (9th Cir.


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2014), cert. denied, 135 S. Ct. 1845 (2015) (quoting Iqbal, 566 U.S. at 678). A plaintiff need

not detail all factual allegations, but the complaint must provide “more than labels and

conclusions.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). While the court must assume

all facts alleged in a complaint are true and view them in a light most favorable to the

nonmoving party, it need not accept as true any legal conclusion set forth in the complaint,

Iqbal, 556 U.S. at 678, nor is the court required to accept as true allegations that are merely

conclusory, unwarranted deductions of fact, or unreasonable inferences, see Clegg v. Cult

Awareness Network, 18 F.3d 752, 754-55 (9th Cir. 1994). The Court also need not accept as

true allegations that contradict matters properly subject to judicial notice or by exhibit. See

Mullis v. United States Bankr. Ct., 828 F.2d 1385, 1388 (9th Cir. 1987).

       A.      Columbia Cannot Prove Entitlement to Damages

               1.      Columbia Is Barred From Seeking Attorney Fees for Prior
                       Litigation In This Case.

       First, Columbia does not state a claim for damages. The only non-punitive relief

Columbia seeks is recovery of attorney fees it allegedly incurred in connection with the IPRs

filed by Ventex. (See FAC, at ¶¶ 219, 251, 261, 271, 300, 315, 326, 368, 376, 384, 393.)1




1 Columbia additionally seeks punitive damages and attorney fees it will incur in connection
with prosecuting this case, but neither of those claims can be maintained absent a claim for
actual damages. Under the federal RICO statute, treble damages is a remedy that only inures
to persons who have been “injured in [their] business or property by reason of” a RICO
violation. See 18 U.S.C. § 1964(c); see also Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 496 (1985);
Bankers Trust Co. v. Rhoades, 859 F.2d 1096, 1100 (2d Cir. 1988). Moreover, neither Oregon
nor Virginia law allow free-standing claims for punitive damages. See, e.g., Crouter v. United
Adjusters, Inc., 259 Or. 348, 364, 485 P.2d 1208, 1215 (1971); Zedd v. Jenkins, 194 Va. 704, 706–
07, 74 S.E.2d 791, 793 (1953).

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Columbia cannot prove entitlement to the claimed damages, however, because the law

prohibits a party from filing a second suit to recover damages incurred in a previous suit.

       Under the “American rule,” attorney’s fees “are not ordinarily recoverable in the

absence of a statute or enforceable contract providing therefor.” Fleischmann Distilling Corp. v.

Maier Brewing Co., 386 U.S. 714, 717 (1967). Even where a party is allowed to seek its attorneys’

fees, though, it cannot do so by bringing a subsequent lawsuit. “[C]ourts have uniformly

concluded that where an action based on the same wrongful act has been prosecuted by the

plaintiff against the defendant to a successful issue, he cannot in a subsequent action recover,

as damages, his costs and expenses in the former action.” Summit Valley Indus. Inc. v. Local 112,

United Bhd. of Carpenters & Joiners of Am., 456 U.S. 717, 726 (1982); see also Mead v. Retail Clerks

Int'l Ass'n, Local Union No. 839, AFL-CIO, 523 F.2d 1371, 1380 (9th Cir. 1975) (explaining that

“the general rule” is that “attorneys’ fees [incurred] in [a] prior action are not recoverable in a

subsequent suit”). This common sense rule “is universally followed in order to avoid the

endless stream of litigation that might ensue if successful litigants could recover their attorney’s

fees in subsequent actions.” Summit Valley Indus., 456 U.S. at 726. If there were no such rule,

“no lawsuit would see the end, for immediately upon the entry of judgment therein the winner

could start an action against the loser for the attorney’s fees paid in obtaining the judgment.”

Stickney v. Goward, 161 Minn. 457, 459 (1925); see also Agostini v. State, 255 A.D. 264, 267, 5

N.Y.S.2d 732 (App. Div. 1938) (“To permit a successful party to bring an action against his

unsuccessful opponent to recover the legal expenses of prosecuting a former action would

lead to endless litigation, for a third action might be prosecuted to recover the expense of the

second, and so on ad infinitum.”).


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       This rule prevents exactly what Columbia is trying to do here. Ventex petitioned the

Patent Office to cancel claims of two of Columbia’s utility patents in IPRs. Columbia

successfully defended the IPRs by contending Ventex failed to name Seirus as a real party in

interest. (See, e.g., FAC, ¶¶ 209-210.) Columbia has already sought attorney fees from Ventex

in the IPRs by filing a motion for sanctions. If Columbia recovers its fees at the Patent Office,

Columbia certainly cannot double-recover them in this case. However, even if Columbia is

not successful, Columbia cannot spawn an entire new litigation to recover its attorneys’ fees

incurred in connection with defending earlier litigation. As Columbia has no viable damages

claim (and has not requested other non-punitive relief), it cannot maintain this case.

               2.     Columbia cannot prove its alleged damages are attributable to
                      Seirus’ and Ventex’ alleged actions

       Columbia also cannot show causation between any alleged injury and the alleged

fraudulent acts. To have standing under civil RICO, Columbia must show “that the

defendant’s violation not only was a ‘but for’ cause of his injury, but was the proximate cause

as well.” Anza v. Ideal Steel Supply Corp., 547 U.S. 451, 458 (2006); Rezner v. Bayerische Hypo-Und

Vereinsbank AG, 630 F.3d 866, 873 (9th Cir 2010) (citing Holmes v. Sec. Investor Prot. Corp., 503

U.S. 258, 268 (1992)). “Proximate causation for RICO purposes requires some direct relation

between the injury asserted and the injurious conduct alleged.” Rezner , 630 F.3d at 873

(internal citations omitted). Courts look to a number of factors to assess whether a sufficiently

direct relation exists between the alleged conduct and harm, including whether the conduct

was directed to the plaintiff or a third party, Anza, 547 U.S at 458, Rezner, 630 F.3d at 873, and

whether the harm could have resulted from other factors. Rezner, 630 F.3d at 873; Anza, 547

U.S at 459-460.

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       Here, Columbia’s alleged harm is not a direct result of the alleged fraud. Although

Columbia alleges that it suffered damages via legal fees, the alleged fraud is on the USPTO,

not Columbia. (See FAC, ¶¶ 228-229.) Where the fraud is perpetrated against the government

and the government can “be expected to vindicate the laws,” proximate cause is not satisfied

for a third party plaintiff. Anza, 547 U.S at 460; Rezner, 630 F.3d at 873-74. The USPTO has

full recourse to address any alleged fraud upon it as part of the IPR process. Indeed, it has

dismissed the Ventex IPRs on grounds that Ventex did not establish that it was the only real

party in interest, and is entertaining a motion for sanctions in which Columbia seeks its

attorneys’ fees, the same remedy Columbia seeks here. Risk of such duplicative recovery “is

another consideration relevant to the proximate-cause inquiry,” and defeats Columbia’s claim

here. Anza, 547 U.S at 459.

       B.     Columbia Cannot Maintain Claims Based on Seirus’ And Ventex’s
              Litigation Filings.

       Columbia also fails to state a claim because all of its claims are predicated on a finding

of fraud based on litigation filings. The central thrust of all of Columbia’s RICO and fraud

claims is that Ventex and Seirus allegedly engaged in fraud by filing documents with judicial

bodies that, according to Columbia, misrepresented that Ventex was the real party in interest

in seeking IPR of two patents owned by Columbia. Specifically, Columbia alleges that the

defendants committed fraud under Oregon, Virginia, and federal law by filing the petitions

seeking IPR of Columbia’s patents and other mandatory notices with the PTAB which

identified Ventex as the real party in interest. (See, e.g., FAC at ¶¶ 228–229, 239–240; 284–

285; 330; 355.) Columbia also alleges that the Defendants committed fraud under Oregon

and federal law by filing motions for stay actions brought by Columbia in federal district court

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based on the IPRs. (See, e.g., FAC at ¶¶ 241, 243; 295, 297; 337–339.) Columbia additionally

alleges that the Defendants conspired to commit fraud by filing documents in the IPRs under

Virginia common law and Virginia statute, see FAC, at ¶¶ 371–385; and that the Defendants

violated Virginia’s abuse of process law by filing the IPRs, see FAC, at ¶¶ 386–394. All of

those claims are predicated on the same basic allegation—that the Defendants fraudulently

filed papers with either the federal court or the Patent Office.

       Even assuming that Columbia’s allegations are true, Columbia cannot maintain these

claims. Filing documents in United States courts and petitioning the government are First-

Amendment-protected activities. As such, courts have developed doctrines to protect these

activities and, absent special circumstances not alleged by Columbia, parties are protected from

liability based on those activities. Because these doctrines privilege Seirus’ and Ventex’s

litigation filings, Columbia’s allegations fail, and all of Columbia’s claims must be dismissed.

               1.      The Noerr-Pennington doctrine immunizes Seirus from liability.

       Seirus is immune from suit predicated on core-First Amendment protected activities

by the Noerr-Pennington doctrine. This doctrine, named after the two cases that spawned it

(Eastern Railroad Presidents Conference v. Noerr Motor Freight, Inc., 365 U.S. 127 (1961), and United

Mine Workers of America v. Pennington, 381 U.S. 657 (1965)), derives from the First Amendment’s

guarantee of “the right of the people to petition the Government for a redress of grievances,”

U.S. Const. Amendment I. “Under the Noerr–Pennington doctrine, those who petition any

department of the government for redress are generally immune from statutory liability for

their petitioning conduct.” Sosa v. DIRECTV Inc., 437 F.3d 923, 929 (9th Cir. 2006).




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       Noerr-Pennington protection extends to petitioning activities directed to the courts, see

id., and indeed “to all departments of the government,” California Motor Transport Co. v. Trucking

Unlimited, 404 U.S. 508, 510-11 (1972). Since its original formulation in the context of antitrust,

the Noerr-Pennington doctrine has been extended to confer immunity from federal RICO claims

and from a variety of tort claims relevant here, including abuse of process and common law

claims. See, e.g., Sosa, 437 F.3d at 935 (federal RICO claims); Brownsville Golden Age Nursing

Home, Inc. v. Wells, 839 F.2d 155, 159-60 (3d Cir. 1988) (abuse of process and other claims);

Baltimore Scrap Corp. v. David J. Joseph Co., 81 F.Supp.2d 602, 620 (D.Md. 2000), aff'd, 237 F.3d

394 (4th Cir. 2001) (common law claims). The Noerr-Pennington doctrine “applies equally in all

contexts.” White v. Lee, 227 F.3d 1214, 1231 (9th Cir. 2000).

       Noerr-Pennington involves a three-step analysis. First, a court is to “identif[y] the burden

that the threat of an adverse [judgment] imposes on [a parties’] petitioning activity at issue.”

See Sosa, 437 F.3d at 930. Second, a court is then to “examine[] the precise petitioning at issue[]

to determine whether the burden on that activity implicated the protection of the Petition

Clause.” Id. Third, a court is then to analyze whether liability could be imposed that avoids

the burden so as to not impinge on the right of petition. Id. “Only where the statutes clearly

provide[s] for the burden posed by the lawsuit” should courts address “whether the statute

may be applied to the petitioning conduct consistently with the Constitution.” See id. at 932.

In essence, Noerr Pennington is a “rule of statutory construction” in which the Courts construe

laws not to impose liability on First Amendment-protected activity. See id. at 931–32.




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                      a.     Columbia’s suit seeks to impose a significant burden on
                             protected First-Amendment activity.

       The first two steps of Noerr-Pennington are satisfied because Columbia’s claims

significantly burden protected First Amendment activity. Each of Columbia’s claims hinges

on its allegation that Seirus’ and Ventex’s filings with judicial bodies constitute fraud. The

right to sue and defend in the courts is among the most fundamental and essential privileges

of citizenship. See Chambers v. Baltimore & O.R. Co., 207 U.S. 142, 148 (1907); McKnett v. St.

Louis & S.F. R. Co., 292 U.S. 230, 233 (1934). Petitioning the government—as Ventex did to

seek Patent Office review of Columbia’s patents and Ventex and Seirus did in seeking stays of

litigation in this Court—is central to the First Amendment. Any related activities supporting

those filings are also protected to provide the adequate “breathing space” for the First

Amendment protected activity. See Sosa, 437 F.3d at 934 (explaining that “[c]onsistent with

the breathing space principle, we have recognized that, in the litigation context, not only

petitions sent directly to the court in the course of litigation, but also ‘conduct incidental to

the prosecution of the suit’ is protected by the Noerr–Pennington doctrine”). Should Columbia

win, such a judgment would significantly burden First Amendment protected activities—

Columbia seeks nearly a million dollars in actual damages (which it claims should be trebled

under federal RICO) and $20 million in punitive damages. This court “must ensure that”

Columbia is not allowed to transform its causes of actions “into a means by which to chill vital

conduct protected under the First Amendment.” See Mercatus Group, LLC v. Lake Forest Hosp.,

641 F.3d 834, 847 (7th Cir. 2011).

       During the meet and confer, Columbia contended that it may proceed with its claims

because they fall under the “sham exception” to Noerr-Pennington, but Columbia is wrong. The

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“sham exception” provides that Noerr-Pennington does not protect a party that brings a legal

claim that is “objectively baseless in the sense that no reasonable litigant could realistically

expect success on the merits,” and “conceals an attempt to interfere directly with the business

relationships of a competitor, through the use of the governmental process—as opposed to

the outcome of that process—as an anticompetitive weapon.” Professional Real Estate Investors,

Inc. v. Columbia Pictures Indus., Inc., 508 U.S. 49, 60 (1993).

        Nothing in Columbia’s complaint supports a finding that Seirus’ and Ventex’s litigation

activities were a sham. Columbia never even alleges that any of the IPR or court filings that

are the basis of its claims are a sham. Although Columbia’s complaint recites the word “sham”

numerous times (see, e.g., FAC, ¶¶ 3, 24, 87, 96, 102, 341, 345, 362, 365), it does so only when

describing an agreement between Seirus and Ventex and the associated payments. Not once

does Columbia allege that the IPR or the litigation activities were a sham. Nor does Columbia

allege that any of the filings were “objectively baseless” or “brought for an anti-competitive

purpose”—both necessary prerequisites for a court to make the significant and difficult

decision that behavior that is within the core of activities protected by the First Amendment

would lose First Amendment protection. See CBS Interactive Inc. v. Nat’l Football League Players

Ass’n, Inc., 259 F.R.D. 398, 413 (D. Minn. 2009) (“The sham exception is narrow, and . . . the

party attempting to invoke the exception, bears a heavy burden of demonstrating that the

lawsuit is objectively meritless” (internal quotation marks omitted)).

        At most, Columbia’s complaint shows that the parties have a legitimate and reasonable

disagreement over who is a real party in interest in an area of law that is developing and




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changing. The full Patent Office record makes this clear.2 For example, after the Patent Office

held an oral hearing on the IPRs, and just before it was due to issue a decision, it issued an

order asking for the parties’ views on a new controlling case—Applications in Internet Time, LLC

v. RPX Corp., 897 F.3d 1336 (Fed. Cir. 2018)—that changed the Patent Office’s test for who

constitutes a real party in interest. (Ex. 1 at 2.) Given the Patent Office itself recognized the

law is quickly developing and asked for supplemental submissions on the new Applications in

Internet Time standard, Ventex can hardly be faulted for arguing that Seirus was not a real party

in interest. See Professional Real Estate Investors, 508 U.S. at 61-63, 65 (analogizing the objective

component of the sham exception to probable cause under Rule 11 and stating that

“[p]robable cause to institute civil proceedings requires no more than a reasonable belief that

there is a chance that a claim may be held valid upon adjudication”).

       The Patent Office’s final decision also shows the parties had a legitimate disagreement

about the law, not that Ventex’s position was a sham. These issues were hotly contested and

Ventex’s position was far from objectively baseless: the parties filed no fewer than 10 discovery

briefs and 10 substantive briefs on these issues (Ex. 2 at 2-3), produced thousands of pages of

documents, took several depositions, and the Patent Office issued a 17-page decision for each

IPR (See id.). Moreover, the IPRs proceeded in their normal course for nearly 18 months,

through briefing and oral hearing, before Applications in Internet Time shifted the law and caused

the Patent Office to ask for special briefing on the issue. (See id.) And, as Columbia has



2 Seirus requests that this Court take judicial notice of the IPR record. As this Court has
previously found, taking judicial notice of documents from the public record and considering
them at the pleading stage is appropriate. See, e.g., Elizabeth Retail Properties LLC v. KeyBank
Nat. Ass’n, 83 F. Supp. 3d 972, 984 (D. Or. 2015).
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acknowledged, the result was written about by news outlets and legal journals due to the

Board’s decision advancing the law on real party in interest. (See D.I. 57, at 19–30 (listing news

articles).) Ventex’s assertion that it was the real party in interest was not objectively baseless,

and thus the sham exception to Noerr-Pennington fails. See, e.g., Wi-Fi One, LLC v. Broadcom

Corporation, 887 F.3d 1329, 1340 (Fed. Cir. 2018) (finding no privity or real party in interest on

similar allegations after applying a “legal test”).

        Columbia also cannot invoke the sham litigation exception for another reason—it

cannot show that Ventex’s IPR petitions were conducted primarily for harassment or other

improper purpose. To the contrary, the petitions were filed to invalidate, at the Patent Office,

two Columbia patents of dubious validity. In fact, a jury has since invalidated one of those

patents (the ’270 patent) in the pending patent litigation case between Seirus and Ventex in

the Southern District of California, while Columbia voluntarily dropped the other patent (the

’119 patent) before trial, showing its lack of confidence in that one. (See Jury Verdict, D.I. 377,

Columbia Sportswear N. Am., Inc. v. Seirus Innovative Accessories, Case No. 17-cv-1781 (S.D. Cal.

Sept. 29, 2017).) Those are the same two patents at issue in Ventex’s IPRs. (See FAC, ¶ 103.)

That shows that Ventex did not file the IPRs primarily for harassment or improper purpose:

it sought to invalidate two patents, one of which was subsequently invalidated by a jury in

district court.

        The motions to stay filed by Seirus and Ventex in the Oregon patent cases also fall

outside the sham exception to Noerr-Pennington. Both motions sought stays based on the fact

that the Patent Office had instituted IPR on the patents involved in those cases. The IPRs

themselves were not a sham, so the motions to stay based on those IPRs can similarly not be


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one. Indeed, the motions properly sought to promote judicial economy by pausing the

litigation (and the associated costs to the parties and the court) while the Patent Office

conducted its review. Columbia even stipulated to Ventex’s motion to stay, which shows that

Columbia knew the motion was well-founded and would save everyone’s resources. (See FAC,

¶ 6.)

                      b.     As none of Columbia’s causes of action can be saved from
                             their burden on First-Amendment protected activity,
                             Columbia’s claims must fail

        Columbia’s claims would significantly burden First-Amendment protected activities.

That leaves this Court with just one remaining question: how to reconcile Columbia’s claims

with the First Amendment. As none of Columbia’s claims “clearly provide for liability for the

conduct at issue,” they must fail. See Sosa, 437 F.3d at 932 (“Only where the statute[s] clearly

provide[s] for the burden posed by the lawsuit will we address whether the statute may be

applied to the petitioning conduct consistently with the Constitution.”).

        Columbia alleges a violation of both the federal and Oregon RICO statutes. Both

statutes require “racketeering” activity, which each statute defines by listing out various

violations of criminal statutes as predicate acts of racketeering. See 18 U.S.C. § 1961(1); ORS

166.725(7)(a)(B). Although Columbia is not entirely clear as to what actions taken by the

Defendants it contends are criminal, it appears to allege the filings with this Court and the

Patent Office are predicate acts of mail and wire fraud under the federal RICO statute, see

FAC, at ¶ 244; and perjury and false swearing relating to those filings are predicate acts under

the Oregon RICO statute, see FAC, at ¶ 274. These allegations mirror Columbia’s other claims:

Columbia alleges fraud under Oregon law, fraud and conspiracy to commit fraud under


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Virginia law, and abuse of process under Virginia law—all based on the filings made to judicial

bodies by Ventex and Seirus. (See pp. 9-10, supra.) What makes these filings fraudulent,

according to Columbia, is that Ventex identified itself as the real party in interest in the IPRs.

       The problem for Columbia, though, is that none of these causes of action “clearly

provide for liability for” a party making an incorrect assertion of law in a filing to a judicial

body. See Sosa, 437 F.3d at 932. Who is, or is not, a “real party in interest” to a cause of action

is a complex legal determination based on a case-by-case analysis of the specific set of facts

involved, and neither Ventex nor Seirus can be said to have committed fraud by advancing a

legal position, even if that legal position turned out to be incorrect. To be clear, the only

statement made by Ventex on this issue in its petition was: “The real party in-interest is Ventex

Co., Ltd.” (Ex. 3 (’119 patent Petition) at 2.) As discussed above, Ventex had a reasonable

basis for believing this legal assertion was true. But even if it didn’t, “[i]t is well established . .

. that misrepresentations of the law are not actionable as fraud, including under the mail and

wire fraud statutes, because statements of the law are considered merely opinions . . .” See

Sosa, 437 F.3d at 940; see also Miller v. Yokohama Tire Corp., 358 F.3d 616, 621 (9th Cir. 2004)

(“It is ... well settled, as a general rule, that fraud cannot be predicated upon misrepresentations

of law or misrepresentations as to matters of law.” (quoting Am. Jur .2d of Fraud and Deceit

§ 97 (2001)) (internal quotation marks omitted). Thus, as the 9th Circuit has already found,

misstatements of law cannot be fraudulent, and thus are immune under the Noerr-Pennington

doctrine. See Sosa, 437 F.3d at 940.

       The litigation and IPR filings cannot constitute fraud for another reason—the alleged

misrepresentations were made in filings to judicial bodies. As discussed below in Section


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II.B.2 infra, these filings are protected by the litigation privilege and cannot as a matter of law

constitute fraud.

       Columbia’s complaint is replete with other inflammatory allegations relating to, for

example, payments from Seirus to Ventex and communications between Seirus and Ventex,

but none of these alleged acts are clearly encompassed within the definition of fraud either.

The common law definition of fraud, which is part of the mail and wire fraud statutes, requires

that a party make a “misrepresentation or concealment of material fact.” See Neder v. United

States, 527 U.S. 1, 21–25 (1999). Taking Columbia’s allegations as true, if Seirus and Ventex

did truly conspire to file the IPRs against Columbia’s patent, there would not have been any

misrepresentation or concealment in those communications or in the payments of money

because (according to Columbia) both Ventex and Seirus knew what the payments were for.

There can be no conspiracy if there was no fraud to begin with. And as to Columbia’s

allegation of “perjury” relating to deposition testimony by certain Ventex employees that the

agreement was not written, that cannot be fraud either as it was not “material”—as Columbia

itself has acknowledged, Columbia was already well aware of the relationship between Ventex

and Seirus and nothing about the real party in interest analysis depends on whether an

agreement was written down on paper. (See D.I. 57, at 13–15); see also Restatement (Second)

of Torts § 538 (an alleged misrepresentation is material only if “a reasonable man would attach

importance to its existence or nonexistence in determining his choice of action in the

transaction in question”). Appending the term “fraudulently” in front of defendants’ alleged

actions does not render them so, and the Court need not accept such conclusory allegations.

See Ashcroft, 556 U.S. at 678 (“Although for the purposes of a motion to dismiss we must take


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all of the factual allegations in the complaint as true, we ‘are not bound to accept as true a legal

conclusion couched as a factual allegation’.”); see also Lancaster Cmty. Hosp. v. Antelope Valley

Hosp. Dist., 940 F.2d 397, 405 (9th Cir. 1991) (“Federal Rule of Civil Procedure 9(b) requires

a pleader of fraud to detail with particularity the time, place, and manner of each act of fraud,

plus the role of each defendant in each scheme. The Ninth Circuit has repeatedly insisted that

this rule be followed in RICO actions alleging the predicate act of mail fraud.”). In short,

without the “fraud” from the filing of papers with judicial bodies, none of Columbia’s other

claims withstand muster.

       Lastly, the only other cause of action alleged by Columbia is “exemplary punitive

damages.” As discussed above at p. 6, n. 1, this is not an independent claim because a party

cannot simply file suit to seek punitive damages. In any event, Columbia does nothing more

than incorporate every one of its 394 paragraphs of allegations above (FAC, ¶ 395), re-allege

that defendants’ actions give rise the claims recited above (FAC, ¶¶ 397-400), and state that

punitive damages of $20 million are required to “deter such conduct in the future” (FAC, ¶

401). This claim, therefore, fails along with the others.

       These are, in and of themselves, an independent basis for dismissing these claims under

Rule 12(b)(6). However, in the context of Noerr-Pennington, it certainly cannot be the case, that

any of the causes of action alleged by Columbia “clearly provide” for liability based on the

facts alleged by Columbia.       As such, the Noerr-Pennington doctrine provides the Seirus

defendants with immunity against Columbia’s claims.




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              2.      Seirus’ and Ventex’s submissions to courts are protected by the
                      litigation privilege, thus barring Columbia’s allegations of fraud

       Columbia’s claims are also precluded by another important protection for First-

Amendment activities—the litigation privilege.         Both attorneys and parties have an

“absolute[]” privilege to communicate about a judicial proceeding so long as the

communicated subject matter has “some relation to the proceeding.” See Restatement

(Second) of Torts §§ 586, 587. The privilege vindicates “the public interest in according to all

men the utmost freedom of access to the courts of justice for the settlement of their private

disputes” and protects parties from liability relating to communications made in connection

with judicial proceedings (whether they be made to a court or the opposing party). See

Restatement (Second) of Torts § 587 cmt. a. “The breadth of the litigation privilege cannot

be understated; it immunizes defendants from virtually any tort liability, including claims for

fraud, with the sole exception of causes of action for malicious prosecution.”

§ 5:17.10.Litigation privilege, 1A American Law of Torts § 5:17.10.

       The litigation privilege (also called the “absolute privilege”) is recognized by both

Oregon and Virginia state law. See, e.g., Mantia v. Hanson, 190 Or. App. 412, 417, 79 P.3d 404,

407 (2003); Donohoe Const. Co. v. Mount Vernon Assocs., 235 Va. 531, 537, 369 S.E.2d 857, 860

(1988). And although federal courts have not explicitly referred to a “litigation privilege,” the

courts have recognized that the same policies that underlie the privilege preclude, as a matter

of law, applying the mail and wire fraud statutes to the service of pleadings filed with the

courts. Indeed, “[a] number of courts have considered whether serving litigation documents

by mail can constitute mail fraud, and all have rejected that possibility.” United States v.

Pendergraft, 297 F.3d 1198, 1208 (11th Cir. 2002) (citing cases). “Serving a motion by mail is

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an ordinary litigation practice” and, as such, “prosecuting litigation activities as federal crimes

would undermine the policies of access and finality that animate our legal system.” See id.

       Here, the litigation privilege blocks all of Columbia’s claims. The claims are all based

on the allegations that (1) Ventex supposedly misrepresented that it was the real party in

interest in filings to the Patent Office and (2) Seirus and Ventex committed fraud by filing

motions to stay with this Court. The alleged misrepresentations, therefore, were undoubtedly

made in connection with a judicial filing about a litigation-related matter.

       The only exception to the absolute litigation privilege—malicious prosecution—does

not apply here. For one thing, Columbia has not alleged or plead malicious prosecution. Even

if it had, though, these filings cannot constitute malicious prosecution for the same reason

they were not a “sham.” Ventex was not without “probable cause to prosecute the” IPR nor

was the IPR brought with “malice” or any other improper purpose. Mantia, 79 P.3d at 408

(listing the factors for “wrongful initiation” under Oregon law necessary to escape the

litigation privilege); see also Restatement (Second) of Torts § 653 (malicious prosecution request

that the proceedings be initiated “without probable cause and primarily for the purpose other

than that of bringing an offender to justice”). And without the alleged fraud based on the

litigation filings, none of Columbia’s other allegations are sufficient to support its claims.

       C.      Columbia’s State Law Claims Are Preempted By Federal Law.

       Columbia additionally cannot maintain its state law claims because federal law

exclusively and comprehensively regulates parties’ behavior before the federal district courts

and the Patent Office, precluding Columbia’ attempt to use state law to regulate such conduct.




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           As to the filings with the district court, Rule 11 sets forth a comprehensive scheme of

procedures and remedies that come into play any time a litigant in federal court pursues

litigation “for any improper purpose such as to harass, cause unnecessary delay, or needlessly

increase the cost of litigation.” Fed. R. Civ. P. 11(b)(1). Both Congress and the courts

intended for the Federal Rules of Civil Procedure, including Rule 11, to be the sole and

exclusive regulation for how matters proceed in the federal courts. “When a situation is

covered by one of the Federal Rules, the question facing the court is a far cry from the typical,

relatively unguided Erie Choice: the court has been instructed to apply the Federal Rule, and

can refuse to do so only if the Advisory Committee, this Court, and Congress erred in their

prima facie judgment that the Rule in question transgresses neither the terms of the [Rules]

Enabling Act nor constitutional restrictions.” Hanna v. Plumer, 380 U.S. 460, 471 (1965). By

“explicitly delineating what rights a defendant has when an abusive claim based upon federal

law is brought against that party, Congress has simply pre-empted this entire area of the law.”

East-Bibb Twiggs Neighborhood Ass’n v. Macon-Bibb Planning & Zoning Com’n, 674 F. Supp. 1475,

1477 (M.D. Ga. 1987); see also Nat'l Fed'n of the Blind v. United Airlines Inc., 813 F.3d 718, 733

(9th Cir. 2016) (“[S]tate law is pre-empted…if federal law so thoroughly occupies a legislative

field ‘as to make reasonable the infere Congress left no room for the States to supplement

it.’”).3


3 Notably, Rule 11 contains important procedural protections which are not present in
Columbia’s state law claims. Specifically, Rule 11 requires a party to serve a “safe harbor”
letter and the motion for sanctions at least twenty-one days before the motion. Fed. R. Civ. P.
11(c)(2). As none of Columbia’s state law causes of action have such a safe-harbor protection,
they are additionally preempted because they conflict with the federal law. See Burlington
Northern R. Co. v. Woods, 480 U.S. 1, 4–5 (1987); Walker v. Armco Steel Corp., 446 U.S. 740, 749–

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       As to filings with the Patent Office, Congress explicitly directed the Patent Office to

issue regulations “prescribing sanctions for abuse of discovery, abuse of process, or any other

improper use of the proceedings, such as to harass or to cause unnecessary delay or an

unnecessary increase in the cost of the proceeding.” See 35 U.S.C. § 315(a)(6). Those

regulations state that “[p]arties and individuals involved in [an IPR] proceeding have a duty of

candor and good faith to the Office during the course of a proceeding.” See 37 C.F.R. § 42.11.

The Patent Office requires that all filings be signed and specifies that, with such signature,

“the party presenting such paper . . . . is certifying that [a]ll statements made therein of the

party’s own knowledge are true” and that “[t]he paper is not being presented for improper

purpose, such as to harass someone or to cause unnecessary delay or needless increase in the

cost of any proceeding before the Office.” See 37 C.F.R. § 42.11(b); 37 C.F.R. § 11.18(b). The

Patent Office has additionally prescribed sanction for violations of this rule—including

striking the offending paper, precluding a party from contesting an issue, termination of the

proceedings, or even monetary sanctions, including attorney fees. See 37 C.F.R. § 11.18(c); 37

C.F.R. § 42.11(d); 37 C.F.R. § 42.12 (listing sanctions). These “[f]ederal regulations have no

less pre-emptive effect than federal statutes.” Fid. Fed. Sav. & Loan Ass'n v. de la Cuesta, 458

U.S. 141, 153. Thus, because “Congress has entrusted [the PTO] with the task of promulgating

regulations” to regulate filings before it and because the PTO has developed a comprehensive

set of rules according to that mandate, Columbia cannot apply state law to regulate Ventex’s

conduct before the PTO. See Montalvo v. Spirit Airlines, 508 F.3d 464, 470–71 (9th Cir. 2007);



750 & n. 9 (1980); see also First Bank of Marietta v. Hartford Underwriters Ins. Co., 307 F.3d 501,
529 (6th Cir. 2002).
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see also de la Cuesta, 458 U.S. at 154 (holding that if the pervasiveness of the regulations indicate

that the agency sought to occupy the field, a court need only ask “whether that action [wa]s

within the scope of the [agency’s] delegated authority”).

       Despite these extensive and comprehensive federal rules, Columbia seeks to use state

law to regulate behavior in the federal district courts and a federal agency. “It seems odd, to

say the least, that state common law can reach conduct that occurs in the course of proceedings

in federal courts and add to or detract from federal law that regulates such behavior, especially

when the conduct involves fundamental litigation practices” such as the filing of papers with

the court. See Ashley Furniture Indus., Inc. v. Am. Signature, Inc., No. 2:11-CV-427, 2013 WL

12178524, at *1 (S.D. Ohio Sept. 13, 2013). As such, federal law should preclude application

of state law to this behavior and Columbia’s state law claims cannot be maintained.

       D.      Columbia Failed to Plead a Sufficient Pattern of Racketeering Activity.

       Lastly, Columbia’s RICO claims must be dismissed because Columbia fails to state a

viable RICO claim. To state a claim under the federal or Oregon RICO statutes, Columbia

must plead a legally cognizable “pattern of racketeering activity.” See 18 U.S.C. §§ 1962(a), (c),

and (d); OR 166.720(3); OR 166.720(1); OR 166.720(4). The “pattern requirement is meant

to prevent ordinary commercial fraud from being transformed into a federal RICO claim. To

determine if a fraudulent scheme rises to the level of a RICO violation, the court must

determine its scale, duration, and number of victims. RICO is reserved for those schemes

whose scope and persistence set them above the routine.” Tudor Assocs., Ltd., II By & Through

Callaway v. AJ & AJ Servicing, Inc., 36 F.3d 1094 (Table) (4th Cir. 1994). To show a pattern of

racketeering activity, the plaintiff must allege facts sufficient to show “continuity plus relationship”


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among the predicate acts. H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 239 (1989) (emphasis in

original). “‘Continuity’ is both a closed- and open-ended concept, referring either to a closed

period of repeated conduct, or to past conduct that by its nature projects into the future with

a threat of repetition.” Id. at 241.

       To determine whether sufficient predicate acts have taken place to form a “pattern” of

racketeering activity, the Court need only consider those actions that would be punishable as

crimes. See 18 U.S.C. § 1961(1) (defining “racketeering activity” as a long list of indictable

crimes); see also H.J. Inc., 492 U.S. at 232 (“‘Racketeering activity’ is defined by RICO to mean

‘any act or threat involving’ specified state-law crimes, any ‘act’ indictable under various

specified federal statutes, and certain federal ‘offenses.’”). These predicate acts must be related

and amount to, or threaten the likelihood of, continued criminal activity. H.J, Inc., 492 U.S. at

237-38. Columbia’s only allegations that could rise to this level are allegations involving mail

and wire fraud. (See FAC, ¶¶ 228-29; 235-36; 244.) “Federal Rule of Civil Procedure 9(b)

requires a pleader of fraud to detail with particularity the time, place, and manner of each act

of fraud, plus the role of each defendant in each scheme. The Ninth Circuit has repeatedly

insisted that this rule be followed in RICO actions alleging the predicate act of mail fraud.”

Lancaster Cmty. Hosp. v. Antelope Valley Hosp. Dist., 940 F.2d 397, 405 (9th Cir. 1991). In the

absence of adequately plead acts of fraud, a RICO plaintiff cannot sustain a suit because it

cannot establish a “pattern” of racketeering activity. See, e.g., Moore v. Kayport Package Express,

Inc., 885 F.2d 531, 541 (9th Cir. 1987) (failure to specify the time, place, and content of the

alleged mail fraud); see also Bryant v. Mattel, Inc., 573 F.Supp.2d 1254, 1264-65 (C.D. Cal. 2007)

(dismissing RICO claims where predicate acts were not alleged as required by Rule 9(b) and


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where plaintiff alleged many instances of mail and wire fraud in a separate attachment that

failed to “detail time, place, and manner of each act of fraud”).

       The only predicate acts for which Columbia has arguably satisfied Rule 9(b)’s pleading

standard of identifying “the time, place, and manner of each act of fraud, plus the role of each

defendant in each scheme” are the IPR filings and the motions to stay. (See, e.g., FAC, ¶¶ 103-

133 (IPR filings); ¶¶ 146-157 (Seirus motions to stay); ¶¶ 158-164 (Ventex motion to stay) ¶¶

228-29; ¶ 236; ¶ 241; ¶ 243.) Those litigation actions are protected by the Noerr-Pennington

doctrine and the litigation privilege protection. (See Section II.B, supra.) One of the Seirus

motions to stay was made orally in this Court (FAC, ¶ 338), and thus cannot be mail or wire

fraud. Moreover, the assertion that Ventex was the only real party in interest in the IPR

petitions is a statement of law, and it can’t be considered mail or wire fraud. See Miller v.

Yokohama Tire Corp., 358 F.3d 616, 621 (9th Cir. 2004) (“It is ... well settled, as a general rule,

that fraud cannot be predicated upon misrepresentations of law or misrepresentations as to

matters of law.” (quoting Am. Jur .2d of Fraud and Deceit § 97 (2001)) (internal quotation

marks omitted). Once those acts are removed from consideration, Columbia is left with

nothing to show a “pattern” of fraudulent acts. Trying to shoehorn additional fraudulent acts,

Columbia also alleges “other such acts are described further below” (FAC, ¶ 230), but none of

these acts is described with the requisite level of particularity required to plead fraud:

              “Defendant Ventex’s continued litigation of the Ventex IPRs without
               disclosing the real party-in-interest”;

              “Wires between defendants”;

              “Email and telephone communications between defendants”; and


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              “Payments between Ventex and Seirus in, e.g., January 2017, and
               continuing through the term of the IPR funding contract.”

(See FAC, ¶¶ 242, 244.) None of these allegations specifies the “time, place, and manner of

each act of fraud, plus the role of each defendant in each scheme.” See Lancaster Cmty. Hosp.,

940 F.2d at 405. In any event, without the predicate IPR filings and motions to stay, none of

these acts is anything other than a typical commercial activity, leaving Columbia without

sufficient predicate acts to maintain its claims. See Moore, 885 F.2d at 541; Bryant, 573

F.Supp.2d at 1264-65.

       Even considering all of Columbia’s allegations as predicate acts or as acts in furtherance

of some fraudulent scheme, Columbia still fails to plead a “pattern” under controlling Ninth

Circuit precedent. First, Columbia has not established open-ended continuity, because it has

not alleged any facts (nor could it) that suggest that there is an ongoing threat of continued

criminal activity. “Open-ended continuity is shown by ‘past conduct that by its nature projects

into the future with a threat of repetition.’” Allwaste, Inc. v Hecht, 65 F.3d 1523, 1528 (9th Cir.

1995). “Predicate acts that specifically threaten repetition or that become a ‘regular way of

doing business’ satisfy the open-ended continuity requirement.” Id.

       Columbia cannot show any threat of repetition of the enterprise’s alleged predicate acts

because there is no threat, and Columbia has not alleged any threat, that the enterprise will file

additional IPRs attacking Columbia or any other person’s patents without disclosing the real

party in interest. Columbia identifies the purpose of the alleged enterprise as filing two IPRs

to invalidate two Columbia patents. (See, e.g. FAC, ¶¶ 103-133, 227-229.) All other acts

identified in the complaint are related to this purpose. The complaint further establishes that

the Patent Office dismissed both IPRs. (See FAC, ¶ 209.) The complaint alleges that Columbia
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has been harmed and does not allege ongoing harm. (See FAC, ¶ ¶ 218-219.) Finally, Columbia

does not allege that defendants will file additional IPRs. Columbia has thus failed to allege

facts sufficient to show “past conduct that by its nature projects into the future with a threat

of repetition.” Allwaste Inc., 65 F.3d at 1528.

       Second, Columbia also has not established closed-ended continuity because it has not

plead facts showing “a series of related predicates extending over a substantial period of time.”

H.J. Inc., 492 U.S. at 242. The “statement that a pattern ‘requires at least’ two predicates implies

that while two acts are necessary, they may not be sufficient.” Id. “Predicate acts extending

over a few weeks or months and threatening no future criminal conduct do not satisfy [the

closed-ended continuity] requirement.” See Howard v. America Online Inc., 208 F.3d 741, 750

(9th Cir. 2000). Courts also consider additional factors such as whether the predicate acts have

the same or similar purpose, results, participants, victims, or methods of commission “or

otherwise are interrelated by distinguishing characteristics and are not isolated events.”

Medallion, 833 F.2d at 1363. These factors weigh against finding that Columbia has alleged

sufficient facts to establish a pattern under a “closed-ended continuity” theory.

       Courts in the Ninth Circuit have repeatedly rejected RICO claims consisting of “a

single alleged fraud with a single victim.” See, e.g., Medallion Tele. Enter. v. SelecTV of Cal., Inc.,

833 F.2d 1360 (9th Cir. 1987). In Medallion, defendant broadcaster allegedly misrepresented

that it had commitments from television stations to pay to telecast a boxing match, and

allegedly induced the plaintiffs to enter into an ill-fated joint venture through numerous

predicate telephone calls and related mailings. Id. at 1362, 1364. There was, as a matter of

law, no “pattern of racketeering activity,” because “[a]ll of Select TV’s assertions about the


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number of licensing agreements it had obtained were parts of its single effort to induce

Medallion to form the joint venture in order to obtain the broadcast rights.” Id. at 1363-64.

Likewise, in Sever v. Alaska Pulp Corp., 978 F.2d 1529 (9th Cir. 1992), the plaintiff, who had

advocated for reforms adverse to his employer’s business interests, alleged that his employer

had terminated him and then continued to retaliate against him by engaging in various acts to

blacklist plaintiff from the industry. Id. at 1532-33. Again, there was no pattern, because,

“although Sever alleges a number of ‘acts,’ [defendant’s] collective conduct is in a sense a single

episode having the singular purpose of impoverishing Sever, rather than a series of separate,

related acts.” Id. at 1535. The court also observed that “there was but a single victim involved”

and that there was no suggestion the defendants would continue the alleged behavior or

intended to harm anyone other than the plaintiff. Id.

       Applying this precedent, Ricotta v. State of California, 4 F.Supp.2d 961 (S.D. Cal. 1998),

dismissed allegations that state officials, attorneys, and other individuals conspired to deny a

RICO plaintiff fair marriage dissolution proceedings by engaging in extortion, bribery, perjury,

undue influence, and other acts over the course of two trials, numerous motions and hearings,

four separate appeals, and several state bar complaints. Id. at 968-71. The court found no

racketeering activity, reasoning that “[s]imilar to Sever, in this case Plaintiff alleges that the

defendants engaged in various activities, all with the single purpose of depriving him of a fair

dissolution proceeding” and “causing him to lose his estate.” Id. at 978. The court noted that

there was “only one single victim involved,” that “once the Defendants successfully ‘took’

Plaintiff’s estate there was no need for any continued tampering,” and that there was “no claim

that the Defendants intended to harm anyone but Plaintiff.” Id. See also Religious Tech. Ctr. v.


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Wollersheim, 971 F.2d 364, 366 (9th Cir. 1992) (series of acts including theft, blackmail, and

extortion did not satisfy continuity requirement because all actions were directed at the

prosecution of a single tort suit, and “there was no threat of activity continuing beyond the

conclusion of that suit”); Jarvis v. Regan, 833 F.2d 149, 152-53 (9th Cir. 1987) (pattern

requirement not satisfied by allegations that legal aid organizations committed several acts of

mail and wire fraud in obtaining a single grant).

       As in all of these cases, Columbia alleges a single scheme against a single victim that

has run to completion and there is no risk of continued activity. Although Columbia alleges

several “predicate” acts, as in Wollersheim and Ricotta, each centers on the two IPRs. (See FAC,

¶¶ 83-133.) Comparison of the facts of this case with Ricotta and Wollersheim is especially

compelling. As in both of those cases, the activities alleged by Columbia relate to a single

effort or purpose—invalidating the two Columbia patents through IPRs, which are legitimate

administrative proceedings. See also Sever, 978 F.2d at 1535 (“singular purpose”). Moreover,

Ricotta involved predicate acts similar to the alleged predicate acts here—i.e., conduct in

litigation—and directed to a “singular purpose.” See Ricotta, 4 F. Supp. 2d at 968-71 (alleging

predicate acts spanning over the course of two trials, numerous motions and hearings, four

separate appeals, and several state bar complaints). Here, the predicate acts are less numerous

and span significantly less time, as the two IPRs and motions to stay were all filed within one

year of each other. Nevertheless, Ricotta found no pattern of racketeering activity, and this

Court should do the same. In Wollersheim, all of the predicate acts were directed at prosecuting

a tort suit that had concluded. See Wollersheim, 971 F.2d at 366. Likewise here, all of the acts




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were directed at the IPRs challenging Columbia’s patents, and likewise here, the IPRs were

terminated by the Patent Office. (See FAC, ¶ 209.)

       As to the alleged victim, here as in the cases cited above, there is just a single victim—

Columbia, which alleges that it was harmed by being required to pay its attorneys to defend

against the IPRs. (See FAC, ¶¶ 218-219.) Finally, there is no risk that the defendants will file

additional IPRs challenging Columbia’s (or any other person’s) patents and Columbia has

made no such allegation. There is no risk of the alleged activity continuing into the future.

Columbia has thus failed to establish a “pattern” of racketeering activity, and all of the RICO

claims should be dismissed. See Medallion, 833 F.2d at 1364; Sever, 978 F.2d at 1532-33; Ricotta¸4

F.Supp.2d at 978; Wollersheim, 971 F.2d at 366; Jarvis, 833 F.2d at 152-53.

       E.      Columbia Cannot Plead Facts Sufficient to Sustain the § 1962(a) Federal
               Claim or the Oregon State Equivalent Claim.

       The Court should dismiss with prejudice Count 2 under the First and Second Claims

for Relief because Columbia has not plead facts sufficient to sustain those claims. A section

1962(a) claim requires a showing that a defendant: “(1) received income from a pattern of

racketeering activity (2) used or invested that income in the operation of an enterprise; and (3)

caused the injury complained of by the use or investment of racketeering income in an

enterprise.” Rao v. BP Prods. North America, Inc., 589 F.3d 389, 398-99 (7th Cir. 2009).

Columbia must allege “an investment injury separate and distinct from the injury flowing from

the predicate act.” Sybersound Records, Inc. v. UAV Corp., 517 F.3d 1137, 1149 (9th Cir. 2008).

In other words, the investment of racketeering income must be the proximate cause of some

distinct injury; Columbia may not simply recite the same facts as alleged under the claim for



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relief under § 1962(c), and rely on the same injury alleged in that context (based on the alleged

predicate acts rather than investment of racketeering income). See id.

       Columbia fails to plead more than one injury as a result of defendants’ alleged actions,

and it further fails to allege any injury as a result of alleged investment of income received

from a pattern of racketeering activity. (Cf. FAC, ¶ 251 (claiming injury in the context of

§ 1962(c): “As a direct and proximate consequence of the conduct of Defendants and each of

them alleged herein, Plaintiff has been injured in its business and property, causing Plaintiff to

suffer monetary damages in an amount not less than $700,000, said damages to be proven at

the time of trial.”); id., ¶ 261 (claiming identical injury in the context of § 1962(a)).) Columbia

has also improperly claimed identical injury in the context of the two Oregon state law

equivalent counts. (See FAC, ¶ 302 (claiming $700,000 injury in the context of the Oregon

Counterpart to 28 U.S.C. § 1962(c)); id., ¶ 315 (claiming identical injury in the context of the

Oregon Counterpart to 28 U.S.C. § 1962(a)).) Both counts must be dismissed with prejudice

because Columbia cannot claim any harm from alleged income received from the pattern of

racketeering activity and cannot allege “an investment injury separate and distinct from the

injury flowing from the predicate acts.” See Sybersound, 517 F.3d at 1149. Here, the alleged

injury of $700,000 plead across all four counts is based on the alleged predicate acts, not an

investment of income derived from the racketeering activity.

       These counts should be dismissed for the additional reason that Columbia does not

satisfy the pleading requirements to identify the alleged income, to identify how the alleged

income was invested in the enterprise, and as already described, to identify any injury flowing

from those alleged actions. See, e.g., Elliott v. Foufas, 867 F.2d 877, 880-81 (5th Cir. 1989)


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(upholding dismissal of claim where (1) “allegations substantially rescript the language of the

statute in conclusory form,” (2) plaintiff “failed to articulate how any particular defendant

derived income from the alleged predicate acts,” and (3) plaintiff did not “identify the

enterprises in which income was invested.”). Columbia’s complaint suffers from all three

deficiencies. It merely rescripts the language of the elements of § 1962(a) and the Oregon

equivalent statute. (See FAC, ¶¶ 253-262; ¶¶ 305-317.) It does not identify how any particular

defendant derived income from the alleged predicate acts. (See FAC, ¶¶ 257, 259, 308, 310.)

Nor does it identify the enterprises in which the unidentified income was allegedly invested.

(See id.)

        Finally, these counts should be dismissed because Columbia cannot identify any

income received by the enterprise as a result of the alleged pattern of racketeering activity. See,

e.g., In re Burzynski, 989 F.2d 733, 744 (5th Cir. 1993) (finding cause of action was properly

dismissed where “the RICO ‘persons’ received no income from their ‘pattern of activity’ which

they used to operate the enterpise.”). Here, there can be no allegation that the enterprise, or

the “persons” involved in the alleged enterprise, received income. Columbia’s allegations

regarding alleged income received by the enterprise are unclear, but they appear to boil down

to this: one defendant passed money to another defendant, which was then passed to the

Patent Office or the attorneys involved in prosecuting the IPRs. (See, e.g. FAC, ¶¶ 138-144.)

This is not income derived from racketeering activity, and is in fact a net financial loss to the

alleged enterprise. The predicate acts of filing and prosecuting IPRs and filing motions to stay

district court proceedings do not generate income: they cost money. Columbia cannot show

that any defendant received income from racketeering activity.


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                                  CONCLUSION

     For the reason above, Columbia’s claims against Seirus should be dismissed.




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                               CERTIFICATE OF COMPLIANCE

       This brief is in compliance with Oregon Local Rule 7-2(b). The brief contains,

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